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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

IN RE:                                               §
                                                     §
SHRUNGI, LLC,                                        §              CASE NO. 21-40166-btr
                                                     §              Chapter 11
        Debtor.                                      §


                   DEBTOR’S COMBINED PLAN OF REORGANIZATION
                           AND DISCLOSURE STATEMENT

                                          Dated: April 19, 2021




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THERE HAS BEEN NO INDEPENDENT AUDIT OF THE FINANCIAL INFORMATION
CONTAINED IN THE COMBINED PLAN AND DISCLOSURE STATEMENT EXCEPT AS
EXPRESSLY INDICATED HEREIN. THE COMBINED PLAN AND DISCLOSURE
STATEMENT WAS COMPILED FROM INFORMATION OBTAINED FROM NUMEROUS
SOURCES BELIEVED TO BE ACCURATE TO THE BEST OF THE PROPONENTS’
KNOWLEDGE, INFORMATION, AND BELIEF. NO GOVERNMENTAL AUTHORITY HAS
PASSED ON, CONFIRMED, OR DETERMINED THE ACCURACY OR ADEQUACY OF
THE INFORMATION CONTAINED HEREIN.

NOTHING STATED HEREIN SHALL BE DEEMED OR CONSTRUED AS AN ADMISSION
OF ANY FACT OR LIABILITY BY ANY PARTY, OR BE ADMISSIBLE IN ANY
PROCEEDING INVOLVING THE PROPONENTS OR ANY OTHER PARTY, OR BE
DEEMED CONCLUSIVE EVIDENCE OF THE TAX OR OTHER LEGAL EFFECTS OF THE
COMBINED PLAN AND DISCLOSURE STATEMENT ON THE PROPONENTS, DEBTOR
OR HOLDERS OF CLAIMS OR EQUITY INTERESTS. CERTAIN STATEMENTS
CONTAINED HEREIN, BY THEIR NATURE, ARE FORWARD-LOOKING AND CONTAIN
ESTIMATES AND ASSUMPTIONS. THERE CAN BE NO ASSURANCE THAT SUCH
STATEMENTS WILL REFLECT ACTUAL OUTCOMES.

THE STATEMENTS CONTAINED HEREIN ARE MADE AS OF THE DATE HEREOF,
UNLESS ANOTHER TIME IS SPECIFIED. THE DELIVERY OF THE COMBINED PLAN
AND THE DISCLOSURE STATEMENT SHALL NOT BE DEEMED OR CONSTRUED TO
CREATE ANY IMPLICATION THAT THE INFORMATION CONTAINED HEREIN IS
CORRECT AT ANY TIME AFTER THE DATE HEREOF.

HOLDERS OF CLAIMS AND EQUITY INTERESTS SHOULD NOT CONSTRUE THE
CONTENTS OF THE COMBINED PLAN AND DISCLOSURE STATEMENT AS
PROVIDING ANY LEGAL, BUSINESS, FINANCIAL, OR TAX ADVICE. THEREFORE,
EACH SUCH HOLDER SHOULD CONSULT WITH ITS OWN LEGAL, BUSINESS,
FINANCIAL, AND TAX ADVISORS AS TO ANY SUCH MATTERS CONCERNING THE
COMBINED PLAN AND DISCLOSURE STATEMENT AND THE TRANSACTIONS
CONTEMPLATED HEREBY.




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EXHIBITS:
       Exhibit 1 – Monthly Operating Reports
       Exhibit 2 – Schedule A/B
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                                   ARTICLE I. INTRODUCTION

       This Combined Plan of Reorganization and Disclosure Statement (the “Plan”) is
proposed by Shrungi, LLC, the debtor in this case (the “Debtor”). On February 1, 2021, the
Debtor filed a voluntary petition for relief under Chapter 11 of the Bankruptcy Code in the United
States Bankruptcy Court for the Eastern District of Texas, Sherman Division. This Plan is
provided pursuant to the Bankruptcy Code to all the Debtor’s known creditors, equity interest
holders and other parties in interest. Under the Plan, all Claimants will receive payment of
100% of their Allowed Claims.

        The Debtor is the owner of a hotel in Bridgeport, Texas (the “Hotel”). The Hotel is not
currently operating due to the surprisingly poor condition in which the Debtor found the Hotel
after purchasing it, as further explained in Article IV below. Pursuant to this Plan the equity
owners of the Debtor will contribute new funds to enable renovation of the Hotel and to re-open
the Hotel to generate revenues to fund the payments proposed under the Plan. The details of the
Plan are set out in Article VI of this document.

      YOUR RIGHTS MAY BE AFFECTED. YOU SHOULD READ THESE PAPERS
CAREFULLY AND DISCUSS THEM WITH YOUR ATTORNEY, IF YOU HAVE ONE.
(IF YOU DO NOT HAVE AN ATTORNEY, YOU MAY WISH TO CONSULT ONE.)


                                    ARTICLE II. DEFINITIONS

        Except as expressly provided herein or unless the context otherwise requires, the terms set
forth in this Article II shall have the following meanings when used in initially capitalized form in
this Plan. Any term used in initially capitalized form that is not defined herein, but that is defined
in the Bankruptcy Code, shall have the meaning assigned to such term in the Bankruptcy Code.
Such meanings shall be equally applicable to both the singular and plural forms of such terms.

       2.1     “Administrative Expense Claim” means an administrative expense or claim
described in Bankruptcy Code § 503 and entitled to administrative priority pursuant to Bankruptcy
Code § 507(a)(1), including, but not limited to, Fee Claims.

        2.2     “Allowed Amount” means the amount of any Allowed Claim.

         2.3     “Allowed Claim” means a Claim against the Debtor allowable under the
Bankruptcy Code to the extent that: (i) a Proof of Claim or request for payment was timely filed,
or, with leave of the Bankruptcy Court, late filed, and as to which no objection has been timely
filed with the Bankruptcy Court, or, if filed, is allowed by a Final Order, unless otherwise provided
in this Plan; (ii) the Claim is scheduled and not listed as disputed, contingent, or unliquidated, and
no objection has been timely filed or, if filed, is allowed by a Final Order; or (iii) with respect to
an Administrative Expense Claim or Fee Claim, the Administrative Expense Claim or Fee Claim
has been approved by a Final Order upon notice and application to the Bankruptcy Court.

        2.4     “Assets” means property of the Estate.



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        2.5     “Avoidance Actions” means any and all rights, claims, and causes of action which
a trustee, the Debtor or other appropriate party in interest would be able to assert on behalf of the
Estate under this Plan applicable state statutes or the avoidance provisions of chapter 5 of the
Bankruptcy Code, including actions under one or more of the provisions of Bankruptcy Code
§§ 506, 542-551, and 553.

        2.6     “Bankruptcy Case” or “Case” means this bankruptcy case: Case No. 21-40166-
btr styled as Shrungi, LLC., pending before the Bankruptcy Court.

       2.7    “Bankruptcy Code” or “Code” means the United States Bankruptcy Code,
11 U.S.C. §§ 101, et seq., as amended.

        2.8    “Bankruptcy Court” or “Court” means the United States Bankruptcy Court for
the Eastern District of Texas, Sherman Division, or other such court that may have jurisdiction
with respect to the reorganization of the Debtor pursuant to Chapter 11 of the Bankruptcy Code.

      2.9    “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as
amended, and “Bankruptcy Rule” refers to a specific rule therein.

       2.10 “Bar Date” means June 1, 2021, the deadline established by the Bankruptcy Court
pursuant to Bankruptcy Rule 3003(c)(3), after which any Proof of Claim may not be timely filed,
except Claims held by governmental agencies.

        2.11 “Business Day” shall mean any day that is not a Saturday, Sunday, or one of the
legal holidays listed in Bankruptcy Rule 9006(a).

        2.12    “Claim” shall have the meaning set forth in Bankruptcy Code § 101(5).

        2.13    “Claimant” or “Creditor” means the holder of a Claim or interest in the Assets.

        2.14 “Class” means any class into which Claims are classified pursuant to Article VI
of the Plan. Each subclass of a class shall be treated as a separate class.

        2.15    “Confirmation” means the Bankruptcy Court’s entry of the Confirmation Order.

       2.16     “Confirmation Date” means the date on which the Order confirming this Plan is
entered.

      2.17 “Confirmation Hearing” means the hearing or hearings held before the
Bankruptcy Court in which the Debtors will seek Confirmation of this Plan.

        2.18    “Confirmation Order” means the Order confirming this Plan.

       2.19 “Contested” when used with respect to a Claim, means a Claim against the
Debtor: (i) that is listed in the Debtor’s Schedules of Assets and Liabilities as disputed,
contingent, or unliquidated; (ii) that is listed in the Debtor’s Schedules of Assets and Liabilities
as undisputed, liquidated, and not contingent and as to which a Proof of Claim has been filed
with the Bankruptcy Court, to the extent the Proof of Claim amount exceeds the scheduled

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amount; (iii) that is the subject of a pending action in a forum other than the Bankruptcy Court
unless such Claim has been determined by Final Order in such other forum and Allowed by Final
Order of the Bankruptcy Court; or (iv) as to which an objection has been or may be timely filed
and has not been denied by Final Order. To the extent an objection relates to the allowance of
only a part of a Claim, such Claim shall be a Contested Claim only to the extent of the objection.

        2.20     “Debtor” means Shrungi, LLC., the Debtor herein.

        2.21 “Disputed” with respect to a Claim means either: (i) a Claim which has been
objected to by the Debtor; or (ii) a Claim that is listed on the Debtor’s bankruptcy schedules as
“disputed, contingent or unliquidated” and for which such Creditor or Interest holder has not
filed a Proof of Claim.

        2.22    “Effective Date” means the thirtieth (30th) day after the Confirmation Date.

        2.23    “Estate” means the bankruptcy estate of the Debtor in this Case.

      2.24 “Fee Claim” means a Claim under Bankruptcy Code §§ 330 or 503 for allowance
of compensation and reimbursement of expenses to professionals in this Bankruptcy Case.

       2.25 “Fee Application” means an application filed with the Bankruptcy Court for
allowance of a Fee Claim.

       2.26 “Final Order” means an Order as to which any appeal that has been taken has
not been stayed following the expiration of the time for appeal or has been resolved, or as to
which the time for appeal has expired.

          2.27 “Impaired” means the treatment of an Allowed Claim or Interest pursuant to the
Plan unless, with respect to such Claim or Interest, either: (i) the Plan leaves unaltered the legal,
equitable and contractual rights to which such Claim or Interest entitles the holder of such Claim
or Interest; (ii) notwithstanding any contractual provision or applicable law that entitles the
holder of such Claim or Interest to demand or receive accelerated payment of such Claim or
Interest after occurrence of a default, the Debtor (A) cures any default that occurred before or
after the commencement of the Chapter 11 Case on the Petition Date, other than default of the
kind specified in § 365(b)(2) of the Bankruptcy Code; (B) reinstates the maturity of such Claim
or Interest as such maturity existed before such default; (C) compensates the holder of such Claim
or Interest for any damages incurred as a result of any reasonable reliance by such holder on such
contractual provision or such applicable law; and (D) does not otherwise alter the legal, equitable
or contractual rights to which such Claim or Interest entitles the holder of such Claim or Interest;
or (iii) the Plan provides that on the Effective Date, the holder of such Claim or Interest receives,
on account of such Claim or Interest, cash equal to the Allowed Amount of such Claim or Interest.

        2.28    “Insider” has the meaning provided by § 101(31) of the Bankruptcy Code.

        2.29    “Interest” means any equity or ownership interest in the Debtor.




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       2.30 “Lien” means any charge against or interest in property to secure payment of debt
or performance of an obligation and includes a judicial lien, security interest, and deed of trust,
mortgage and property tax lien.

        2.31    “Order” means an Order of the Bankruptcy Court.

       2.32 “Petition Date” means February 1, 2021, the date on which the Debtor filed its
voluntary petition in this Case.

       2.33 “Plan” means this Combined Plan of Reorganization and Disclosure Statement,
including any amendments, modifications or corrections made thereto.

        2.34    “Plan Proponent” or “Proponent” means the Debtor.

       2.35 “Priority Tax Claim” means a Claim entitled to priority pursuant to Bankruptcy
Code § 507(a)(8).

        2.36 “Proof of Claim” means a written statement setting forth a Creditor’s Claim filed
in this Case and conforming substantially to the appropriate official form.

        2.37 “Schedules and Statements” means and refers to the Debtor’s bankruptcy
schedules A/B, D-H and Statement of Financial Affairs filed by the Debtor, and any amendments
thereto.

        2.38 “Secured Claim” means a Claim that is secured within the meaning of Bankruptcy
Code § 506(a). Should the value of the collateral securing a Secured Claim be less than the amount
of the Claim, the Claim will be bifurcated into a Secured Claim equal to the value of the collateral
and an Unsecured Claim for the remainder.

       2.39 “Unsecured Claim” means any Claim that is not a Secured Claim or an
Administrative Expense Claim and that is not entitled to priority treatment under Bankruptcy Code
§ 507.

                ARTICLE III. VOTING ON THE PLAN AND OBJECTIONS

        3.1     Who May Vote

        You are entitled to vote on the Plan unless:

                (1)      your Claim or Interest is Disputed (as defined herein);

                (2)      your Class receives no distribution (presumed to reject the Plan);

                (3)      your Class is “unimpaired” (presumed to accept the Plan – See Sections
                         6.01 and 6.02 to see if your Class is Impaired or unimpaired); or

                (4)      your Claim is unclassified (and thus required by law to be paid in full).

        If your Claim or Interest is Disputed, then you must file a motion and have it allowed for

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voting purposes (you must do that soon so that your motion can be heard before votes are counted.
See Bankruptcy Rule 3018(a)).

        3.2     How to Vote

       Fill out and return the attached ballot (if you are entitled to vote) by the deadline and
according to the other instructions in the enclosed order regarding voting and procedures.

        3.3     Effect of Vote

         After a plan of reorganization has been filed, it must either be accepted by holders of claims
against, or interests in, the debtor, or be found by the Court not to discriminate unfairly and that it
is fair and equitable with respect to each class of claims or interests that is impaired under the plan
or that has not accepted the plan.

        Acceptance of the plan by the Creditors and Equity Interest Holders is important. In order
for the plan to be accepted by each class of claims, the creditors that hold at least two thirds (2/3)
in amount and more than one-half (½) in number of the allowed claims actually voting on the plan
in such class must vote for the plan and the equity interest holders that hold at least two-thirds
(2/3) in amount of the allowed interests actually voting on the plan in such class must vote for the
plan. A Subchapter V Chapter 11 does not require that each holder of a claim against, or interest
in, the debtor vote in favor of the plan in order for it to be confirmed by the Court.

        3.4     Who May Object

       Even if you are not entitled to vote, you may object to Confirmation of the Plan if you
believe that the requirements for Confirmation are not met (and if you are a party in interest in this
bankruptcy case). For the deadlines and procedures to object, see the enclosed order.

       ARTICLE IV. HISTORY AND OPERATIONS OF THE DEBTOR, EVENTS
       DURING THE BANKRUPTCY CASE, AND SUMMARY OF ASSETS AND
                              LIABILITIES

        4.1.    The Debtor’s Prepetition Operations.

        Prior to the Petition Date, the Debtor was in the business of owning and operating a 58-
room hotel in the city of Bridgeport, Texas. The Debtor purchased the Hotel on February 20, 2020
from Shri Ganeshay, LLC, which is also the Debtor’s Secured lender. Soon after the Debtor’s
purchase of the Hotel, the Debtor discovered that the prior owner had misrepresented the condition
of the Hotel, which was in very poor condition with 38 rooms in such bad shape they were
unrentable to the public. Nevertheless, the Debtor operated the hotel until September 2020, when
it was unable to continue due to the inability to rent all rooms and the effects of the COVID-19
virus.

        4.2     Litigation.

        Prior to the filing of the Case, Shri Ganeshay, LLC filed suit against the Debtor in the case
of Shri Ganeshay, LLC v. Shrungi, LLC, et. al, case no. CV20-10-847 in the 271st Judicial District

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Court of Wise County, Texas. In addition, Shri Ganeshay, LLC posted the Hotel for a non-judicial
foreclosure to take place on February 2, 2021. The state court case and the foreclosure were stayed
by the filing of this Bankruptcy Case.

        4.3.    The Bankruptcy Case.

       The Debtor filed its voluntary petition for relief under Chapter 11 of the Bankruptcy Code
on February 1, 2021. The Bankruptcy Case is pending before the Honorable Brenda Rhoades in
the Bankruptcy Court. Significant events occurring during the Case are as follows:

                a.       On March 5, 2021, filed an Amended Motion for Relief from Automatic
                         Stay (the “Stay Motion”). The Debtor filed an Objection to the Stay Motion
                         on March 18, 2021. A hearing is scheduled on the Stay Motion on May 4,
                         2021.

                b.       On March 2, 2021, the Court entered an Order Granting Debtor’s to Employ
                         Counsel, approving the retention of Joyce W. Lindauer Attorney, PLLC and
                         general counsel for the Debtor in this Case.

        4.4     Post-Petition Date Operations.

        Renovation and repair of the Hotel is facilities underway to allow for the reopening of the
Hotel. The Debtor projects that as of the Confirmation Date it will be able to maintain 40 rooms
for rent (out of 58 existing rooms) and charge an average room rate of $59.00 per night, resulting
in monthly gross revenue of $70,800.00 (40 x59x30) less a vacancy factor of 10%. As rooms are
repaired, renovated and made available for occupancy, the number of available rooms will increase
this revenue calculation.

       A copy of the Debtor’s Monthly Operating Reports filed in this Case are attached hereto
as Exhibit 1.

        4.5     Assets of the Debtor

        The Debtor scheduled Assets with a total value of $1,050,905.00 as of the Petition Date,
detailed as follows:

        Real Property (Hotel and land)                              $850,000
        Hotel furnishings, machinery and equipment                  $197,500
        Office furniture and computers                              $2,500
        Cash                                                        $905

        Although the real property was purchased for $2,250,000.00, the current value is only
$850,000,00, in the Debtor’s opinion plus the Hotel furnishings. The diminution of value is related
solely to Shri Ganeshay, LLC’s knowing and fraudulent misrepresentation of, and willful failure
to disclose, the material state of the Hotel at the time of purchase. The Debtor has an Avoidance
Action and other causes of action it may bring against Shri Ganeshay, LLC as a result of these


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misrepresentations and omissions. Further there are claims against Shri Ganeshay, LLC pending
in the pre-petition state court case.

       The Assets of the Debtor are more fully described in Schedule B filed by the Debtor, a
copy of which is attached hereto as Exhibit 2.

        4.6     Liabilities of the Debtor

         According to Debtor’s Schedules and the Proofs of Claim filed in this Case, the Debtor’s
liabilities are as follows:

                a.       Administrative Expense Claims.

                         The Estate may be liable for certain Administrative Expense Claims
                         pursuant to Bankruptcy Code §503(b) through the Confirmation Date.
                         Before the Debtor pays any Fee Claims, the Bankruptcy Court will have
                         determined the reasonableness of such fees and expenses. Those are
                         estimated at $25,000.

                b.       Priority Tax Claims.

                         The Internal Revenue Service filed a proof of claim for taxes entitled to
                         priority treatment under 11 U.S.C. Section 507(a)(8) in the amount of
                         $1,126.99.

                c.       Secured Claims.

                         The Debtor scheduled Shri Ganeshay, LLC with a total Claim of
                         $2,250,000.00, of which $1,050,000.00 is Secured and $1,200,000.00 is
                         Unsecured.

                         Wise County, Texas filed a Secured Claim for property taxes in the amount
                         of $85,881.76.

                d.       General Unsecured Claims.


                         The Debtor scheduled total Unsecured Claims (other than the Unsecured
                         portion of the Claim of Shri Ganeshay, LLC) in the amount of $5,367.09.

        4.7     Tax Consequences of the Plan

                a.       Disclaimer. The Debtor does not purport to provide tax advice to the
                         holders of Claims. The following is intended only as a summary of possible
                         federal income tax consequences of the Plan and is not a substitute for
                         careful tax planning with a tax professional. The following is for
                         information purposes only and is NOT tax advice. The tax consequences
                         are in many cases uncertain and may vary depending on a holder’s

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                         individual circumstances. Accordingly, holders of Claims are urged to
                         consult with their tax advisors about the federal, state, local, and foreign tax
                         consequences of the Plan on their tax returns and tax liabilities.

                b.       Tax Consequences. Implementation of the Plan may result in federal
                         income tax consequences to holders of Claims or Interests and the Debtor.
                         Tax consequences to a particular Claim or Interest holder may depend on
                         the particular circumstances or facts regarding the Claim or Interest. IRS
                         Publication 908, entitled “Bankruptcy Tax Guide” provides valuable
                         information regarding the federal income tax aspects of bankruptcy. The
                         “Bankruptcy Tax Guide” is available directly from the IRS online at
                         http://www.irs.gov/pub/irs-pdf/p908.pdf.

                c.       Cancellation of Debt. Cancellation of the Debtor’s debt (“COD”) is
                         generally considered as taxable income of the Debtor. COD is the amount
                         by which the indebtedness discharged exceeds any consideration given in
                         exchange. However, there are exceptions which prevent COD from being
                         treated as taxable income. To the extent the Debtor is insolvent or the
                         Debtor is discharged in a bankruptcy proceeding, as is the case at bar, the
                         Internal Revenue Code excludes COD from income. The statutory
                         exclusion for COD from the Debtor’s gross income in a Chapter 11
                         bankruptcy case arises where a discharge is granted by the Court as is
                         requested in the Plan.

                d.       Holders of Allowed Claims. The tax consequences associated with
                         distributions under the Plan to the holders of an Allowed Claim will depend
                         on, among other things: (i) the consideration received or deemed to have
                         been received by the holder of any such Claim; (ii) whether the Allowed
                         Claim holder reports income on an accrual or cash basis; (iii) the taxable
                         year in which any distributions under the Plan are received by the Allowed
                         Claim holder; (iv) whether the Claim was Allowed or Contested/Disputed
                         as of the Effective Date; and (v) whether such Allowed Claim holder had
                         previously written the obligation off as bad debt. ALLOWED CLAIM
                         HOLDERS ARE URGED TO CONSULT WITH THEIR TAX
                         ADVISORS ABOUT THE FEDERAL, STATE, LOCAL AND FOREIGN
                         TAX CONSEQUENCES OF THE PLAN.

           ARTICLE V. FORCED OR CHAPTER 7 LIQUIDATION ANALYSIS

        Section 1129(a)(7) of the Bankruptcy Code requires that a Chapter 11 plan of
reorganization must provide at least as much value to each Impaired Creditor as could be realized
in a liquidation under Chapter 7 of the Bankruptcy Code.

       In determining whether the requirements of Section 1129(a)(7) of the Bankruptcy Code
have been met, the first step is to determine the dollar amount that would be generated from a
hypothetical liquidation of the Debtor’s assets in Chapter 7. Such amounts must then be reduced
by the costs and expenses of the liquidation. Further reductions would be required to eliminate

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cash and asset liquidation proceeds that would be applied to Secured Claims and amounts
necessary to satisfy Priority Claims that are senior to general Unsecured Claims (including
Administrative Expense Claims that may result from the termination of the Debtor’s business and
the liquidation of its assets).

         Liquidation Analysis

       Liabilities shown below are as scheduled by the Debtor, unless the Claimant has filed a
proof of claim stating a different amount.

        The Debtor estimates that the value of the Real Property in a forced liquidation sale, such
as a foreclosure under Texas law, would yield net proceeds of approximately 75% of the market
value as scheduled by the Debtor.

       The Debtor estimates that the value of furniture, fixtures, equipment would be approximate
one-half of market value as scheduled by the Debtor.

Assets

         Real Property                                                                               $637,500.001

         Office furniture, computers, machinery,
         hotel furnishings and supplies                                                              $100,000.00

         Cash                                                                                        $905.00

         Less 5% liquidation costs for real property                                                 <$31,875.00>

         Total Assets                                                                                $ 706,530.00


Liabilities

         Administrative Expenses and UST Fees                                                        $25,0002
         Priority Tax Claims                                                                         $1,127.00
         Class 1        Non-Tax Priority Claims                                                      $0.0
         Class 2        All Claims of Shri Ganeshay, LLC                                             $2,250,0003
         Class 3        Secured Claims of Wise County                                                $85,882.00
         Class 4        General Unsecured Claims                                                     $5,367.09
         Class 5        Equity Interests


1 Debtor’s estimate of the value of the Real Property in a forced sale (75% of market value).

2 Debtor’s estimate.

3 Total claim as scheduled by the Debtor, without bifurcation into secured and unsecured portions.


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                Total Liabilities                                                     $ 2,403,376.09


TOTAL ASSETS LESS TOTAL LIABILITIES                                           -$ 1,696,846.09


       NOTE: Under the above analysis, only Secured Claims would receive distributions
in a Chapter 7 case. Under this Plan; however, Unsecured Claimants will receive 100% of
their Claims.

                         ARTICLE VI. PLAN OF REORGANIZATION

        6.1     Classification of Claims and Interests

       Claims against the Debtor, excluding Administrative Expense Claims and Priority Tax
Claims, are divided into the following Classes:

                Class 1 Claims: Non-Tax Priority Claims.

                Class 2 Claim: All Allowed Claims of Shri Ganeshay, LLC.

                Class 3 Claims: Allowed Secured Claim of Wise County, Texas.

                Class 4 Claims: Allowed General Unsecured Claims.

                Class 5 Equity Interests: Equity Interest Holders

        6.2     Claims and Interests Impaired Under the Plan

        Claims in Classes 1 - 4 are Impaired and entitled to vote on this Plan. Class 5 Equity
Interests shall be retained and are not Impaired.

        6.3     Treatment of Unclassified Claims, Administrative Expense Claims, Priority
                Tax Claims, and U.S. Trustee Fees

                a.       Unclassified Claims. All Allowed Claims (except Administrative Expense
                         Claims and Priority Tax Claims) are placed in Classes for all purposes,
                         including voting on, confirmation of, and distributions under this Plan. In
                         accordance with Bankruptcy Code § 1123(a)(1), Administrative Expense
                         Claims and Allowed Priority Tax Claims have not been classified.

                b.       Administrative Expense Claims. Each holder of an Allowed
                         Administrative Expense Claim under Bankruptcy Code § 503 shall receive
                         from the Plan Proponent the amount of such holder’s Allowed Claim in one
                         or more cash payments as soon as reasonably possible after the Effective
                         Date to the extent funds are available after the receipt of proceeds from the
                         sale of all or part of the Assets by the Plan Proponent.



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                          1.      Fee Claims. Each professional person whose retention with respect
                                  to this Case has been approved by the Bankruptcy Court or who
                                  holds, or asserts, an Administrative Expense Claim that is a Fee
                                  Claim shall be required to file with the Bankruptcy Court a final fee
                                  application within sixty (60) days after the Effective Date and to
                                  serve notice thereof on all parties entitled to such notice. The failure
                                  to file timely any such application as required shall result in the Fee
                                  Claim being forever barred and discharged. A Fee Claim, with
                                  respect to which a Fee Application has been properly filed, shall
                                  become an Administrative Expense Claim only to the extent allowed
                                  by Final Order. Holders of Allowed Fee Claims shall receive from
                                  the Proponent the amount of such holder’s Allowed Claim in one or
                                  more cash payments as soon as reasonably possible to the extent
                                  funds are available after the receipt of proceeds from the sale of all
                                  or part of the Assets by the Proponent.

                          2.      Administrative Expense Claims Bar Date. Any other person or
                                  entity who claims to hold an Administrative Expense Claim (other
                                  than a Fee Claim) shall be required to file with the Bankruptcy Court
                                  an application within sixty (60) days after the Effective Date and to
                                  serve notice thereof on all parties entitled to such notice. The failure
                                  to file timely the application as required under this section) of this
                                  Plan shall result in the Claim being forever barred and discharged.
                                  An Administrative Expense Claim with respect to which an
                                  application has been properly filed and to which no timely objection
                                  has been filed or an objection has been filed but overruled by the
                                  Bankruptcy Court, shall become an Allowed Claim to the extent
                                  such Claim is allowed by Final Order.

                c.        Priority Tax Claims. Any holder of an Allowed Priority Tax Claim within
                          the meaning of Bankruptcy Code § 507(a)(8) will be paid such holder’s
                          Allowed Claim in one or more cash payments within 60 months after the
                          Petition Date to the extent funds are available after the receipt of proceeds
                          from the sale of all or part of the Assets by the Proponent, with interest
                          accruing from the Petition Date at the applicable statutory rate.

                     The Internal Revenue Service filed a Priority Tax Claim for $1,127.00.

        6.4     Treatment of Classified Claims and Interests Under the Plan

        Class 1 Claims: Non-Tax Priority Claims. Class 1 Claims shall be paid in full in equal
monthly installments of principal and interest over 60 months from the Effective Date. Payments
shall commence on the first day of the first month following the Effective Date and continue on
the first day of each month thereafter. Interest shall accrue at the rate of 2% per annum
commencing on the Effective Date. These Claims are IMPAIRED. The Debtor does not believe
any such Claims exist.


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         Class 2 Claims: All Allowed Claims of Shri Ganeshay, LLC. Class 2 Claims shall be
paid in full in equal monthly installments of principal and interest over 60 months from the
Effective Date. The Allowed Claim Amount shall be amortized over 30 years. Payments shall
commence on the first day of the first month following the Effective Date and continue on the first
day of each month thereafter. Interest shall accrue at the rate of 4.25% per annum commencing on
the Effective Date. This Claimant shall retain its pre-Petition Date Liens securing this Claim until
it is paid in full.

        This Allowed Claim is subject to offset due to the claims that the Debtor has against the
Creditor. Such claims are described in pending litigation. The Debtor projects that such litigation
will substantially reduce the amount owed to the Creditor. The Debtor will pay the amount that
the Court ultimately determines that is owed to the Creditor. Until such amount is determined the
Debtor will pay the Creditor $11,068.65 per month.

        This Claim is IMPAIRED.

        Class 3 Claims: Allowed Secured Claims of Wise County. The Class 3 Claim shall be
paid in full over the time period from the Petition Date to the expiration of five (5) years from the
Petition Date, with interest thereon at the rate of interest of 12% per annum. The Claim will be
paid in equal monthly installments of principal and interest, commencing on the first day of the
first month following the Effective Date and continuing on the first day of each month thereafter.
Interest shall begin to accrue as of the Petition Date. This Claimant shall retain its pre- and post-
Petition Date statutory Liens securing this Claim until it is paid in full.

        Should the Debtor sell the property securing this Claim prior to the expiration of the
aforementioned payments to this Claimant, the Debtor shall pay this Claim in full from the
proceeds of closing of such sale, with the liens that secure all unpaid tax years remaining attached
to the property sold. This Claim is IMPAIRED.

        Class 4 Claims: Allowed General Unsecured Claims. Class 4 Claimants shall receive
100% of the amount of their Allowed Claims, payable over 5 years in equal monthly installments
commencing on the first day of the first month following the Effective Date and continuing on the
first day of each month thereafter. These Claims are IMPAIRED.

       Class 5 Interests: Allowed Equity Interest Holders. Class 8 Interests shall be retained.
The Class 5 Equity Interest Holders shall make a capital contribution of at least $50,000.00 to the
Debtor on the Effective Date. These Interests are not Impaired and are deemed to have voted for
the Plan.

      6.5   Consummation and Implementation of Plan. This Plan will be substantially
consummated by the commencement of payments as called for above.

       Pursuant to this Plan the equity owners of the Debtor will contribute $50,000.00 in new
funds borrowed from a readily available source (friends and family) to enable the Debtor to
renovate and re-open the Hotel and generate revenues to fund the payments proposed under the
Plan.


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        The Debtor projects that as of the Effective Date it will be able to maintain 40 rooms for
rent (out of 58 existing rooms) and charge an average room rate of $59.00 per night, resulting in
monthly gross revenue of $70,800.00 (50x59x30). As rooms are repaired, renovated and made
available for occupancy, the number of available rooms will increase this revenue calculation.

       Post-Confirmation Management. Post-Confirmation management and daily operations of
the Debtor shall be personally performed by the principals of the Debtor, Nikunj Patel and Mehul
Gajera, not by hired employees, which will further minimize the Debtor’s expenses.

       Risks under the Plan. Although the Debtor believes the Plan satisfies all requirement
necessary for Confirmation, there can be no assurance that the Court will reach the same
conclusion. As always in the case of operating a business, there is a possibility that revenues will
not reach an adequate level to fund the Debtor’s expenses, including payments under the Plan.
Moreover, there can be no assurance that modifications of the Plan will not be required for
Confirmation or that such modifications would not necessitate the re-solicitation of votes to accept
the Plan as modified.

        6.6     Feasibility of the Plan

       The Debtor believes the Plan is feasible because, with the $50,000 capital contribution by
the equity holders and the renovation and repairs to be performed, the Hotel will generate at least
$70,000.00 per month in revenue (less a possible 10% vacancy factor), which is more than
adequate to fund the Plan payments. The Debtor has prepared detailed projections of operating
income, expenses and Plan payments, which are attached hereto as Exhibit 3.

        6.7     Provisions Regarding Distributions and Objections to Claims

                a.       Time of Payment. All payments under this Plan will commence on the
                         Effective Date.

                b.       Delivery of Payment. All payments or distributions required under this
                         Plan shall be made to holder of the applicable Claim at: (i) the address set
                         forth on the Proofs of Claim filed by such holders (or at the last known
                         address of such holders if no Proof of Claim is filed or if the Proponent has
                         been notified of a change of address); (ii) the address set forth in any written
                         notices of address change delivered to the Proponent; or (iii) if neither of
                         the foregoing is applicable, at the addresses reflected in the Debtor’s
                         bankruptcy schedules, unless otherwise agreed to by the holder of such
                         Claim and the Proponents.

                c.       No Distribution Pending Allowance or Estimation of Claims. No
                         payments or distributions shall be made with respect to all or any portion of
                         a Contested Claim unless and until such Claim becomes an Allowed Claim
                         or Allowed Interest, as determined by Final Order. No holder of a Claim




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                         shall be entitled to any payment under the Plan if such holder has retained
                         property of the Estate.

                d.       Objections to Claims. Any party authorized by the Bankruptcy Code may
                         object to the allowance of prepetition Claims at any time prior to sixty (60)
                         days after the Effective Date or, as to Claims based upon the Debtor’s
                         rejection pursuant to this Plan of an executory contract or unexpired lease,
                         at any time prior to thirty (30) days after the filing of any such rejection
                         Claim or rejection pursuant to this Plan. All Contested Claims shall be
                         litigated to Final Order; provided, however, that the Debtor may
                         compromise and settle any Contested Claim, subject to the approval of the
                         Bankruptcy Court. Notwithstanding the foregoing, a person who is found to
                         have received a voidable transfer shall have thirty (30) days following the
                         date upon which the order ruling that such transfer is avoidable becomes a
                         Final Order in which to file a Claim in the amount of such avoided transfer.

                e.       Suspension of Payments on Disputed Claims. If any Claim has been
                         objected to within the time required, the Proponent shall segregate and set
                         aside, from the funds on hand for distribution to the Claimant’s Class, funds
                         sufficient to satisfy the payment otherwise due on the Claim according to
                         the provisions of the Plan. In the event that the claim objection is overruled
                         or a dispute is resolved favorably to the party asserting the Claim, then the
                         funds shall be paid to the Creditor in accordance with applicable Class
                         provisions. In the event that the Disputed Claim is disallowed, the funds
                         segregated in deference to the Claim shall be disbursed to other parties in
                         interest, according to the applicable provisions of the Plan.

        6.8     General Rejection of Executory Contracts and Unexpired Leases.

        Except for executory contracts and unexpired leases that have been assumed, and if
applicable assigned, before the Effective Date or under section 6.08(b) of this Plan, or that are the
subject of a pending motion to assume, and if applicable assign, or that were entered after the
Petition Date, the Debtor will be conclusively deemed to have rejected all executory contracts and
unexpired leases as of the Effective Date.

        6.9     Default

        In the event of a default under the Plan, the affected Claimant or its counsel shall provide
notice to counsel for the Debtor/Reorganized Debtor. The Debtor/Reorganized Debtor shall have
twenty (20) days to cure the default. In the event the Debtor/Reorganized Debtor fails to cure the
default within 20 days after receipt of notice, the Claimant shall be entitled to pursue collection of
all amounts owed pursuant to state law outside of the Bankruptcy Court. The Debtor/Reorganized
Debtor shall only be entitled to two notices of default a year. In the event of a third default, the
Claimant shall be entitled to pursue collection of all amounts owed pursuant to state law outside
the Bankruptcy Court without further notice. Failure to timely pay post-petition taxes shall be an
event of default under the Plan.


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                          ARTICLE VII. RESERVATION OF CLAIMS

        7.1     Reservation of Claims and Causes of Action

         Any and all claims, causes of action, cross claims, or counterclaims held or assertable by
the Debtor, including but not limited to: (i) any claim or cause of action under a policy of liability
insurance or otherwise; (ii) the Avoidance Actions; and (iii) any and all claims, causes of action,
counterclaims, demands, controversies, against third parties on account of costs, debts, sums of
money, accounts, reckonings, bonds, bills, damages, obligations, liabilities, objections, and
executions of any nature, type, or description which the Debtor has or may come to have, including,
but not limited to, negligence, gross negligence, usury, fraud, deceit, misrepresentation,
conspiracy, unconscionability, duress, economic duress, defamation, control, interference with
contractual and business relationships, conflicts of interest, misuse of insider information,
concealment, disclosure, secrecy, misuse of collateral, wrongful release of collateral, failure to
inspect, environmental due diligence, negligent loan processing and administration, wrongful
setoff, violations of statutes and regulations of governmental entities, instrumentalities and
agencies (both civil and criminal), racketeering activities, securities and antitrust violations, tying
arrangements, deceptive trade practices, breach or abuse of fiduciary duty, breach of any alleged
special relationship, course of conduct or dealing, obligation of fair dealing, obligation of good
faith, whether or not in connection with or related to this Plan, at law or in equity, in contract or in
tort, or otherwise, known or unknown, suspected or unsuspected, are hereby preserved and retained
for enforcement by the Proponent as of the Confirmation Date. It is the intent of the Debtor that
this reservation of claims shall be as broad as permitted by applicable law and shall include all
claims, whether or not disclosed in the Debtor’s Schedules and Statements. Specifically the Debtor
is preserving its claims against Shir Ganeshay, LLC and all those acting in concert with it.

        The Debtor believes it has actionable claims against Shri Ganeshay, LLC in categories (ii)
and (iii) above.

        7.2     Return of Fraudulent Transfers

       Any Creditor determined to have received a transfer that is voidable pursuant to sections
544, 547, 548, 549, and/or 550 of the Bankruptcy Code or any other applicable law shall be
required to remit to the Proponent the determined amount of the avoided transfer prior to receiving
any distribution under this Plan.

              ARTICLE VIII. EFFECT OF CONFIRMATION, DISCHARGE,
                           RELEASES AND INJUNCTION

        8.1     Vesting of Property

       On the Confirmation Date of the Plan, all property of the Estate shall vest in the
Reorganized Debtor free and clear of all Claims and interests except as otherwise provided in this
Plan. This Plan will evidence the release of any and all Liens or encumbrances against all property
dealt with by the Plan, unless such Lien or encumbrance is specifically retained in the Plan.




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        8.2     Plan Creates New Obligations

      Except as otherwise provided in the Plan, the payment terms promised in the Plan constitute
new contractual obligations that replace any payment terms that existed prior to the Effective Date.

        8.3     Legal Binding Effect

       The provisions of this Plan shall: bind all holders of Claims and Interests, whether or not
they accept this Plan.

        8.4     Discharge

       Pursuant to Bankruptcy Code Section 1141(d), confirmation of this Plan does discharge
the Debtor.

        8.5     Satisfaction of Claims and Interests

        Except as otherwise provided by the Plan, the consideration distributed under the Plan shall
be in complete satisfaction of all Claims of any Creditor, including Claims arising prior to the
Effective Date.

        8.6     Modification of the Plan

                a.       Prior to Confirmation. The Debtor may modify this Plan at any time prior
                         to Confirmation, provided the modification complies with the requirements
                         of sections 1122, 1123 and 1127 of the Bankruptcy Code. Upon the filing
                         of any such modifications with the Bankruptcy Court, the Plan, as modified,
                         becomes the Plan.

                b.       After Confirmation. The Debtor may modify the Plan at any time after
                         Confirmation, upon compliance with Bankruptcy Code § 1127. The
                         Proponent or its attorney shall provide notice of any such proposed
                         modification to all Creditors and other parties in interest in these Chapter
                         11 proceedings. If, in the opinion of the Bankruptcy Court, the modification
                         does not materially and adversely affect the interest of the Creditors, the
                         Bankruptcy Court may modify the Plan without notice to Creditors, or may
                         modify the Plan upon notice only to those Creditors that the Bankruptcy
                         Court deems to be materially and adversely affected.

        8.7     Temporary Injunction

        Except as otherwise expressly provided in, or permitted under, this Plan, the Confirmation
Order shall provide, among other things, that all Creditors and persons who have held, hold, or
may hold Claims or Interests against the Debtor, are enjoined on and after the Effective Date as
long as the Plan is not in default and has not been completed against the: (i) commencement or
continuation of any judicial, administrative, or other action or proceeding against the Debtor or
any third-party guarantor on account of Claims against the Debtor; (ii) enforcement, attachment,
collection, or recovery by any manner or means of any judgment, award, decree, or order against

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the Debtor or any third-party guarantor or any assets or property of same; or (iii) creation,
perfection, or enforcement of any encumbrance of any kind against the Debtor or any third-party
guarantor arising from a Claim. Such injunction expires at the end of the Plan term at which time
all Allowed Claims will have been paid in accordance with the terms of the Plan.

        8.8     Retention of Jurisdiction

        The Bankruptcy Court shall retain jurisdiction over this Bankruptcy Case after
Confirmation of the Plan to the fullest extent provided for, or allowed, under the Bankruptcy Code
and other applicable law. Specifically, but not by way of limitation, the Bankruptcy Court shall
retain jurisdiction for the following purposes:

                a.       to consider and effect any modification of this Plan under Bankruptcy Code
                         § 1127;

                b.       to hear and determine all controversies, suits and disputes that arise in
                         connection with the interpretation, implementation, effectuation,
                         consummation or enforcement of this Plan;

                c.       to hear and determine all requests for compensation and/or reimbursement
                         of expenses for the period commencing on the Petition Date through the
                         Confirmation Date;

                d.       to hear and determine all objections to Claims and Interests, and to
                         determine the appropriate classification of any Claim or Interest, and other
                         controversies, suits and disputes that may be pending at or initiated after the
                         Confirmation Date, except as provided in the Confirmation Order;

                e.       to hear and determine all causes of action;

                f.       to consider and act on such other matters consistent with this Plan as may
                         be provided in the Confirmation Order;

                g.       to make such Orders as are necessary and appropriate to carry out and
                         implement the provisions of this Plan;

                h.       to approve the reasonableness of any payments made or to be made, within
                         the meaning of Bankruptcy Code § 1129(a)(4);

                i.       to exercise the jurisdiction granted pursuant to sections 505(a) and (b) of
                         the Bankruptcy Code to determine any and all federal, state,
                         Commonwealth, local and foreign tax liabilities of, and any and all refunds
                         of such taxes paid by the Debtor;

                j.       to hear and determine any issues or matters in connection with any property
                         not timely claimed as provided in this Plan; and



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                k.       to determine any and all motions, applications, adversary proceedings and
                         Contested matters whether pending in the Case as of the Effective Date or
                         brought subsequently.

       Nothing contained herein shall be construed to limit the rights of the Debtor to commence
or prosecute any claim in any court of competent jurisdiction.

                      ARTICLE IX. MISCELLANEOUS PROVISIONS

        9.1     Request for Relief Under Bankruptcy Code § 1129(b)

       In the event any Impaired Class of Claims or Interests shall fail to accept this Plan in
accordance with Bankruptcy Code § 1129(a), the Debtor requests that the Bankruptcy Court
confirm this Plan in accordance with the provisions of Bankruptcy Code § 1129(b).

        9.2     Headings

        All headings utilized in this Plan are for convenience and reference only, and shall not
constitute a part of this Plan for any other purpose.

        9.3     Due Authorization

        Each and every Claimant who elects to participate in the distributions provided for herein
warrants that such Claimant is authorized to accept, in consideration of such Claim against the
Debtor, the distributions provided for in this Plan and that there are not outstanding commitments,
agreements, or understandings, express or implied, that may or can in any way defeat or modify
the rights conveyed or obligations undertaken by such Claimant under this Plan.

        9.4     Further Assurances and Authorizations

         The Proponent shall seek such orders, judgments, injunctions, and rulings that may be
required to carry out further the intentions and purposes, and to give full effect to the provisions
of, this Plan.

        9.5     Applicable Law

        Except to the extent that the Bankruptcy Code or other federal law is applicable, the rights,
duties, and obligations arising under this Plan shall be governed by and construed and enforced in
accordance with the internal laws of the State of Texas without reference to the laws of other
jurisdictions.

        9.6     No Interest

       Except as expressly stated in this Plan, or allowed by the Bankruptcy Court, no interest,
penalty, or late charge is to be Allowed on any Claim subsequent to the Petition Date.




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        9.7     Post-Confirmation Actions

       After Confirmation, the Debtor may, with the approval of the Bankruptcy Court, and so
long as it does not materially or adversely affect the interests of the Creditors, remedy any defect
or omission, or reconcile any inconsistencies in the Plan or in the Confirmation Order, in such
manner as may be necessary to carry out the purposes and effect of the Plan.

        9.8     Notices of Default

       Notwithstanding anything contained herein to the contrary, no Claimant shall have the right
to exercise any rights under the Plan unless and until the Debtor fails to cure any default within
twenty (20) days of receipt of written notice of such default to the Debtor and its counsel.

        9.9     Notices

        All notices, requests, elections, or demands in connection with the Plan shall be in writing
and shall be deemed to have been given when received or, if mailed, five (5) days after the date of
mailing provided such writing shall have been sent by registered or certified mail, postage prepaid,
return receipt requested. Notices provided to the Debtor under this Plan shall be sent to the Debtor
at 1333 W. McDermott Dr., Ste 150, Allen, Texas 75103, and counsel for the Debtor at Joyce W.
Lindauer, Attorney, 1412 Main St., Suite 500, Dallas TX 75202.

        9.10    Payment Dates

        Whenever any payment or distribution to be made under the Plan shall be due on a day
other than a Business Day, such payment or distribution shall instead be made, without interest,
on the next Business Day, except as may be provided in negotiable instruments requiring such
payments.

        9.11    De Minimis Distribution

       No single distribution payment of less than $5.00 shall be required to be made to any holder
of an Allowed Claim. Rather, any such de minimis distribution amount shall be held by the Debtor,
added to the amount of the next distribution, and remitted to the holder of the Allowed Claim upon
reaching a total greater than $5.00.




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        Dated: April 19, 2021.
                                                          Respectfully submitted,

                                                            /s/ Joyce W. Lindauer
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                                                          Attorneys for Debtor


                                                           /s/ Nikunj Patel
                                                          Debtor by its Authorized Representative




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CHAPTER 11 DEBTOR PROJECTIONS
Shrungi LLC
                                                                              Month        Month         Month         Month        Month
                                                                               1            2             3             4            5
INCOME
                               Income (less vacancy 10%)                      63,720.00    63,720.00     63,720.00     63,720.00    63,720.00
                               Legal Retainer                                  6,750.00
                               NET INCOME                                     70,470.00    63,720.00     63,720.00     63,720.00    63,720.00
EXPENSES
                               Expenses                                       48,500.00    48,500.00     48,500.00     48,500.00    48,500.00
                               TOTAL EXPENSES                                 48,500.00    48,500.00     48,500.00     48,500.00    48,500.00
PLAN PAYMENTS          Class
                               Administrative Claims                           2,000.00      2,000.00     2,000.00      2,000.00     2,000.00
                         1     Allowed Non-Tax Priority Claims                     0.00
                         2     All Allowed Claims of Shri Ganeshay LLC        11,068.65    11,068.65     11,068.65     11,068.65    11,068.65
                         3     Secured Claim of Wise County                    1,910.40     1,910.40      1,910.40      1,910.40     1,910.40
                         4     Unsecured Claims                                   89.45        89.45         89.45         89.45        89.45
                         5     The Debtor- Insiders                                0.00
                         6     TOTAL PLAN PAYMENTS
                                                                              15,068.50    15,068.50     15,068.50     15,068.50    15,068.50
NET INCOME                                                                     6,901.50       151.50        151.50        151.50       151.50
CUMULATIVE INCOME                                                              6,901.50     7,053.00      7,204.50      7,356.00     7,507.50

Claim of Shri Ganeshay LLC subject to reduction for claims brought by debtor. Such reduction is not reflected in the projections.




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Month       Month         Month       Month        Month       Month       Month       Month         Month        Month
 6           7             8           9            10          11          12          13            14           15

63,720.00   63,720.00     63,720.00   63,720.00    63,720.00   63,720.00   72,000.00   72,000.00      72,000.00   72,000.00

63,720.00   63,720.00     63,720.00   63,720.00    63,720.00   63,720.00   72,000.00   72,000.00      72,000.00   72,000.00

48,500.00   48,500.00     48,500.00   48,500.00    48,500.00   48,500.00   48,500.00   53,500.00      53,500.00   53,500.00
48,500.00   48,500.00     48,500.00   48,500.00    48,500.00   48,500.00   48,500.00   53,500.00      53,500.00   53,500.00

 2,000.00    2,000.00      2,000.00    2,000.00     2,000.00    2,000.00    2,000.00    2,000.00

11,068.65   11,068.65     11,068.65   11,068.65    11,068.65   11,068.65   11,068.65   11,068.65      11,068.65   11,068.65
 1,910.40    1,910.40      1,910.40    1,910.40     1,910.40    1,910.40    1,910.40    1,910.40       1,910.40    1,910.40
    89.45       89.45         89.45       89.45        89.45       89.45       89.45       89.45          89.45       89.45
                                                                                                           0.00        0.00

15,068.50   15,068.50     15,068.50   15,068.50    15,068.50   15,068.50   15,068.50   15,068.50      13,068.50   13,068.50
   151.50      151.50        151.50      151.50       151.50      151.50    8,431.50    3,431.50       5,431.50    5,431.50
 7,659.00    7,810.50      7,962.00    8,113.50     8,265.00    8,416.50   16,848.00   20,279.50      25,711.00   31,142.50
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Month       Month        Month         Month       Month       Month       Month       Month          Month       Month
 16          17           18            19          20          21          22          23             24          25

72,000.00   72,000.00     75,000.00    75,000.00   75,000.00   75,000.00   75,000.00      75,000.00   75,000.00   75,000.00

72,000.00   72,000.00     75,000.00    75,000.00   75,000.00   75,000.00   75,000.00      75,000.00   75,000.00   75,000.00

53,500.00   53,500.00     55,000.00    55,000.00   55,000.00   55,000.00   55,000.00      55,000.00   55,000.00   55,000.00
53,500.00   53,500.00     55,000.00    55,000.00   55,000.00   55,000.00   55,000.00      55,000.00   55,000.00   55,000.00




11,068.65   11,068.65     11,068.65    11,068.65   11,068.65   11,068.65   11,068.65      11,068.65   11,068.65   11,068.65
 1,910.40    1,910.40      1,910.40     1,910.40    1,910.40    1,910.40    1,910.40       1,910.40    1,910.40    1,910.40
    89.45       89.45         89.45        89.45       89.45       89.45       89.45          89.45       89.45       89.45
     0.00        0.00          0.00         0.00        0.00        0.00        0.00           0.00        0.00        0.00

13,068.50   13,068.50     13,068.50    13,068.50   13,068.50   13,068.50   13,068.50      13,068.50   13,068.50   13,068.50
 5,431.50    5,431.50      6,931.50     6,931.50    6,931.50    6,931.50    6,931.50       6,931.50    6,931.50    6,931.50
36,574.00   42,005.50     48,937.00    55,868.50   62,800.00   69,731.50   76,663.00      83,594.50   90,526.00   97,457.50
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Month        Month        Month         Month        Month        Month        Month        Month        Month        Month
 26           27           28            29           30           31           32           33           34           35

 75,000.00    75,000.00    75,000.00     75,000.00    75,000.00    75,000.00    75,000.00    75,000.00    75,000.00    75,000.00

 75,000.00    75,000.00    75,000.00     75,000.00    75,000.00    75,000.00    75,000.00    75,000.00    75,000.00    75,000.00

 55,000.00    55,000.00    55,000.00     55,000.00    55,000.00    55,000.00    55,000.00    55,000.00    55,000.00    55,000.00
 55,000.00    55,000.00    55,000.00     55,000.00    55,000.00    55,000.00    55,000.00    55,000.00    55,000.00    55,000.00




 11,068.65    11,068.65    11,068.65     11,068.65    11,068.65    11,068.65    11,068.65    11,068.65    11,068.65    11,068.65
  1,910.40     1,910.40     1,910.40      1,910.40     1,910.40     1,910.40     1,910.40     1,910.40     1,910.40     1,910.40
     89.45        89.45        89.45         89.45        89.45        89.45        89.45        89.45        89.45        89.45
      0.00         0.00         0.00          0.00         0.00         0.00         0.00         0.00         0.00         0.00

 13,068.50    13,068.50    13,068.50     13,068.50    13,068.50    13,068.50    13,068.50    13,068.50    13,068.50    13,068.50
  6,931.50     6,931.50     6,931.50      6,931.50     6,931.50     6,931.50     6,931.50     6,931.50     6,931.50     6,931.50
104,389.00   111,320.50   118,252.00    125,183.50   132,115.00   139,046.50   145,978.00   152,909.50   159,841.00   166,772.50
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Month        Month        Month         Month        Month        Month        Month        Month        Month        Month
 36           37           38            39           40           41           42           43           44           45

 75,000.00    75,000.00    75,000.00     75,000.00    75,000.00    75,000.00    75,000.00    75,000.00    75,000.00    75,000.00

 75,000.00    75,000.00    75,000.00     75,000.00    75,000.00    75,000.00    75,000.00    75,000.00    75,000.00    75,000.00

 55,000.00    55,000.00    55,000.00     55,000.00    55,000.00    55,000.00    55,000.00    55,000.00    55,000.00    55,000.00
 55,000.00    55,000.00    55,000.00     55,000.00    55,000.00    55,000.00    55,000.00    55,000.00    55,000.00    55,000.00




 11,068.65    11,068.65    11,068.65     11,068.65    11,068.65    11,068.65    11,068.65    11,068.65    11,068.65    11,068.65
  1,910.40     1,910.40     1,910.40      1,910.40     1,910.40     1,910.40     1,910.40     1,910.40     1,910.40     1,910.40
     89.45        89.45        89.45         89.45        89.45        89.45        89.45        89.45        89.45        89.45
      0.00         0.00         0.00          0.00         0.00         0.00         0.00         0.00         0.00         0.00

 13,068.50    13,068.50    13,068.50     13,068.50    13,068.50    13,068.50    13,068.50    13,068.50    13,068.50    13,068.50
  6,931.50     6,931.50     6,931.50      6,931.50     6,931.50     6,931.50     6,931.50     6,931.50     6,931.50     6,931.50
173,704.00   180,635.50   187,567.00    194,498.50   201,430.00   208,361.50   215,293.00   222,224.50   229,156.00   236,087.50
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Month        Month        Month         Month        Month        Month        Month        Month        Month        Month
 46           47           48            49           50           51           52           53           54           55

 75,000.00    75,000.00    75,000.00     75,000.00    75,000.00    75,000.00    75,000.00    75,000.00    75,000.00    75,000.00

 75,000.00    75,000.00    75,000.00     75,000.00    75,000.00    75,000.00    75,000.00    75,000.00    75,000.00    75,000.00

 55,000.00    55,000.00    55,000.00     55,000.00    55,000.00    55,000.00    55,000.00    55,000.00    55,000.00    55,000.00
 55,000.00    55,000.00    55,000.00     55,000.00    55,000.00    55,000.00    55,000.00    55,000.00    55,000.00    55,000.00




 11,068.65    11,068.65    11,068.65     11,068.65    11,068.65    11,068.65    11,068.65    11,068.65    11,068.65    11,068.65
  1,910.40     1,910.40     1,910.40      1,910.40     1,910.40     1,910.40     1,910.40     1,910.40     1,910.40     1,910.40
     89.45        89.45        89.45         89.45        89.45        89.45        89.45        89.45        89.45        89.45
      0.00         0.00         0.00          0.00         0.00         0.00         0.00         0.00         0.00         0.00

 13,068.50    13,068.50    13,068.50     13,068.50    13,068.50    13,068.50    13,068.50    13,068.50    13,068.50    13,068.50
  6,931.50     6,931.50     6,931.50      6,931.50     6,931.50     6,931.50     6,931.50     6,931.50     6,931.50     6,931.50
243,019.00   249,950.50   256,882.00    263,813.50   270,745.00   277,676.50   284,608.00   291,539.50   298,471.00   305,402.50
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Month        Month        Month         Month        Month
 56           57           58            59           60

 75,000.00    75,000.00    75,000.00     75,000.00    75,000.00

 75,000.00    75,000.00    75,000.00     75,000.00    75,000.00

 55,000.00    55,000.00    55,000.00     55,000.00    55,000.00
 55,000.00    55,000.00    55,000.00     55,000.00    55,000.00




 11,068.65    11,068.65    11,068.65     11,068.65    11,068.65
  1,910.40     1,910.40     1,910.40      1,910.40     1,910.40
     89.45        89.45        89.45         89.45        89.45
      0.00         0.00         0.00          0.00         0.00

 13,068.50    13,068.50    13,068.50     13,068.50    13,068.50
  6,931.50     6,931.50     6,931.50      6,931.50     6,931.50
312,334.00   319,265.50   326,197.00    333,128.50   340,060.00
